Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 1 of 16
       Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 2 of 16




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              DISTRICT OF OREGON
                                AUSTIN DIVISION

BOOK PEOPLE, INC., VBK, INC., d/b/a
BLUE WILLOW BOOKSHOP,
AMERICAN BOOKSELLERS
ASSOCIATION, ASSOCIATION OF
AMERICAN PUBLISHERS, AUTHORS
GUILD, INC., COMIC BOOK LEGAL
DEFENSE FUND,                                       Case No. 1:23-cv-00858-ADA

              Plaintiffs,

       v.

MARTHA WONG in her official capacity as
chair of the Texas State Library and
Archives Commission, KEVEN ELLIS in his
official capacity as chair of the Texas Board
of Education, MIKE MORATH in his official
capacity as Commissioner of Education,

              Defendants.



 BRIEF OF AMICI CURIAE ASSOCIATION OF UNIVERSITY PRESSES, BARNES &
   NOBLE, INC., FREEDOM TO READ FOUNDATION, FREEDOM TO LEARN
  ADVOCATES, AND AMERICAN ASSOCIATION OF SCHOOL LIBRARIANS IN
  OPPOSTION TO DEFENDANTS’ MOTION TO DISMISS AND IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


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           Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 3 of 16




                                                   TABLE OF CONTENTS

                                                                                                                                     Page

INTEREST OF AMICI CURIAE ................................................................................................... 1

SUMMARY OF ARGUMENT ....................................................................................................... 2

ARGUMENT .................................................................................................................................. 3

I.        THE BOOK BAN IS AN UNCONSTITUTIONAL CONTENT-BASED
          REGULATION THAT CANNOT SURVIVE STRICT SCRUTINY ................................. 3

II.       THE BOOK BAN UNLAWFULLY COMPELS SPEECH ................................................ 9

CONCLUSION ............................................................................................................................. 10




                                                                      i
         Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 4 of 16




                                        TABLE OF AUTHORITIES

                                                                                                               Page(s)

Cases

303 Creative LLC v. Elenis,
   143 S. Ct. 2298 (2023) ............................................................................................ 10

Am. Booksellers Ass’n v. McAuliffe,
  533 F. Supp. 50 (N.D. Ga. 1981) .............................................................................. 7

Am. Booksellers Ass’n v. Virginia,
  882 F.2d 125 (4th Cir. 1989) .................................................................................... 6

Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico,
   457 U.S. 853 (1982) .............................................................................................. 4, 5

Brown v. Entm’t Merchants Ass’n,
   564 U.S. 786 (2011) ...................................................................................... 3, 4, 7, 8

Calderon v. City of Buffalo,
   402 N.Y.S.2d 685 (App. Div. 1978) .......................................................................... 7

Campbell v. St. Tammany Parish School Bd.,
  64 F.3d 184 (5th Cir. 1995) .............................................................................. 3, 4, 5

Fayetteville Pub. Library v. Crawford Cty.,
   No. 5:23-CV-05086, 2023 WL 4845636 (W.D. Ark. July 29, 2023) ..................... 3, 6

Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp.,
  515 U.S. 557 (1995) ................................................................................................ 10

Miller v. California,
   413 U.S. 15 (1973) .................................................................................................... 6

Powell’s Books, Inc. v. Kroger,
  622 F.3d 1202 (9th Cir. 2010) .................................................................................. 7

Reed v. Town of Gilbert,
   576 U.S. 155 (2015) .................................................................................................. 3

Roth v. U.S.,
   354 U.S. 476 (1957) .................................................................................................. 5

Rushia v. Town of Ashburnham,
  582 F. Supp. 900 (D. Mass. 1983) ............................................................................ 7


                                                             ii
          Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 5 of 16




Sable Commc’ns of Cal. v. F.C.C.,
  492 U.S. 115 (1989) .................................................................................................. 3

Sund v. City of Wichita Falls,
  121 F. Supp. 2d 530 (N.D. Tex. 2000) .................................................................. 7, 8

Virginia v. Am. Booksellers Ass’n,
   372 S.E.2d 618 (Va. 1988) .................................................................................... 5, 8

Wooley v. Maynard,
  430 U.S. 705 (1977) ................................................................................................ 10

Statutes

H.B. 900, codified as proposed Tex. Educ. Code
   § 002 .......................................................................................................................... 2
   § 008 .......................................................................................................................... 2
   § 33.021 ..................................................................................................................... 2
   § 35.001 ..................................................................................................................... 2
   §§ 35.001(2), 35.005 .................................................................................................. 7
   §§ 35.001(3) ............................................................................................................... 7
   § 35.003 ..................................................................................................................... 2
   § 35.0021 ................................................................................................................... 2

Tex. Educ. Code §§ 35.001(3)......................................................................................... 7

Other Authorities

American Library Association, ACCESS TO RESOURCES AND SERVICES IN THE SCHOOL
  LIBRARY, at
  https://www.ala.org/advocacy/intfreedom/librarybill/interpretations/accessresour
  ces .............................................................................................................................. 4

https://healthdata.dshs.texas.gov/dashboard/surveys-and-profiles/youth-risk-
   behavior-survey (last accessed Aug. 15, 2023) ........................................................ 5

https://www.ala.org/advocacy/intfreedom/labelingratingqa .................................. 9, 10




                                                                 iii
        Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 6 of 16




                                 INTEREST OF AMICI CURIAE

       The Association of University Presses is an organization of more than 160 international

nonprofit scholarly publishers, 80% of which are based in the United States. Since 1937,

AUPresses has advanced the essential role of a global community of publishers whose mission is

to ensure academic excellence and cultivate knowledge. The Association holds intellectual

freedom, integrity, stewardship, and diversity and inclusion as core values. AUPresses members

are active across many scholarly disciplines, including the humanities, arts, and sciences, publish

significant regional and literary work, and are innovators in the world of digital publishing.

       Barnes & Noble, Inc. (“Barnes & Noble”) is the world’s largest retail bookseller and a

leading retailer of content, digital media and educational products. The Company operates

approximately 600 Barnes & Noble bookstores across the United States, and one of the Web’s

premier e-commerce sites, BN.com. Barnes & Noble’s mission is to operate the best omni-channel

specialty retail business in America, helping both its customers and booksellers reach their

aspirations, while being a credit to the communities it serves.

       The Freedom to Read Foundation is an organization established by the American Library

Association to promote and defend First Amendment rights, foster libraries as institutions that

fulfill the promise of the First Amendment, support the right of libraries to include in their

collections and make available to the public any work they may legally acquire, and establish legal

precedent for the freedom to read of all citizens.

       Freedom to Learn Advocates (FTLA) was founded to promote universal access to books

and educational resources for all communities regardless of race, economic status, religion, sexual

orientation, gender identity, or political affiliation. Its mission is to resist initiatives that aim to




                                                     1
        Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 7 of 16




limit access to information, often in the form of book banning policies. FTLA believes that

individuals and families should be trusted to decide for themselves what to read and learn.

       The American Association of School Librarians (AASL) is the preeminent national

professional association for school librarians. Their National School Library Standards (2018)

provide that the role of the school librarian is to work with students to ensure they are able to make

responsible decisions regarding the use of these resources to develop critical learning skills. As a

division of the American Library Association (ALA), AASL is a partner with school administrators

and national educational organizations in shaping educational policy.

                                  SUMMARY OF ARGUMENT

       In a specious attempt to allegedly protect children, Texas has passed a draconian law

riddled with massive constitutional defects that would effectively prohibit schools libraries from

providing their students with a broad array of books, including some of the most seminal works of

literature published. H.B. 900, codified as proposed Tex. Educ. Code §§ 33.021, 35.001-002,

35.0021 and 35.003-008 (the “Book Ban”), would significantly impinge on the First Amendment

rights of publishers, booksellers and distributors – in addition to the students. It would impose a

blatantly unconstitutional ratings scheme on booksellers, forcing them to label a book with

arbitrary ratings invented by the Texas legislature before being able to sell books to school

libraries. Moreover, the Book Ban would effectively bar students in grades K-12 from borrowing

any work from a public school library that merely references any “sexual conduct” unless the

student obtained prior parental consent to “access” such content. Such books would presumably

include such acclaimed works as The Handmaid’s Tale by Margaret Atwood, Slaughterhouse-Five

by Kurt Vonnegut, or Angela’s Ashes by Frank McCourt. Further, the Book Ban would prohibit

publishers, booksellers and other library material vendors from supplying school libraries with

books that contain depictions of “explicit sexual conduct” but are of literary, scientific, or artistic


                                                  2
        Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 8 of 16




value. The Book Ban is unconstitutional for all the reasons set forth in Plaintiffs’ Motion for a

Preliminary Injunction. This amicus brief will concentrate on two of those aspects. First, the Book

Ban is a content-based regulation of speech and cannot survive strict scrutiny. Any broad speech

restriction aiming at protecting children that does not assess a literary work “as a whole” and that

is not circumscribed to works without redeeming social or literary, scientific or artistic value for

minors is unconstitutional. Second, the burdensome and coercive requirements on publishers,

booksellers and distributors to rate and label literary works as “sexually relevant” or “sexually

explicit” constitute unconstitutional compelled speech.

                                          ARGUMENT

I.     THE BOOK BAN IS AN UNCONSTITUTIONAL CONTENT-BASED
       REGULATION THAT CANNOT SURVIVE STRICT SCRUTINY

        “The Supreme Court has repeatedly recognized that the broad authority of school officials

over educational matters must be exercised in a manner that comports with fundamental

constitutional safeguards.” Campbell v. St. Tammany Parish School Bd., 64 F.3d 184, 188 (5th

Cir. 1995). The Book Ban is a content-based regulation of protected speech and accordingly

subject to strict scrutiny.1 “Content-based laws . . . are presumptively unconstitutional and may be

justified only if the government proves that they are narrowly tailored to serve compelling state

interests.” Reed, 576 U.S. at 163-64; see also Brown, 564 U.S. at 799-800. The Supreme Court

underscored the extensive nature of this burden in Brown, which struck down as unconstitutional




1
  Reed v. Town of Gilbert, 576 U.S. 155, 163-64 (2015) (“Government regulation of speech is
content based if a law applies to particular speech because of the topic discussed or the idea or
message expressed.”); Brown v. Entm’t Merchants Ass’n, 564 U.S. 786, 799-800 (2011); Sable
Commc’ns of Cal. v. F.C.C., 492 U.S. 115, 126 (1989); Fayetteville Pub. Library v. Crawford Cty.,
No. 5:23-CV-05086, 2023 WL 4845636, at *18-19 (W.D. Ark. July 29, 2023)(finding procedure
for challenging public library books to be content-based restriction on speech).


                                                 3
        Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 9 of 16




a California regulation that prohibited the rental of violent video games to minors without parental

consent and required their packaging to be labeled “18.” As the court stated in that similar case:

       The State must specifically identify an “actual problem” in need of solving, and the
       curtailment of free speech must be actually necessary to the solution. That is a
       demanding standard. It is rare that a regulation restricting speech because of its
       content will ever be permissible.

Brown, 584 U.S. at 799-800. The Supreme Court found that California could not meet this

demanding standard where “it cannot show a direct causal link between violent video games and

harm to minors”; as it underscored, “ambiguous proof will not suffice.” Id.

       It is important to understand what the Book Ban is not. It is not a regulation of obscene

speech for adults or minors. Nor is this a case involving school curriculum or school discipline of

students. Nor is this even a case in which local trained educators or librarians removed specific

books from a school library following an individual review and sound educational procedures.

Instead, this is a case in which the Texas legislature, a political body with no specialized training

in the educational needs of children, has enacted a broad, state-wide legislative assault on books

and the public school library during a period of heated “culture wars.” The Texas Book Ban serves

no compelling (or even reasonable) interest, it is not narrowly tailored or the least restrictive means

of advancing its interests, and it is vastly overbroad.

       The Book Ban takes direct aim at the school library. This is particularly problematic. Both

the United States Supreme Court and the Fifth Circuit have recognized that school libraries are “a

place to test or expand upon ideas presented to [the student], in or out of the classroom.” Bd. of

Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 868-69 (1982).2 As the

Fifth Circuit stated with approval in Campbell, 64 F.3d at 188:



2
 See also American Library Association, ACCESS TO RESOURCES AND SERVICES IN THE SCHOOL
LIBRARY, at https://www.ala.org/advocacy/intfreedom/librarybill/interpretations/accessresources.


                                                  4
       Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 10 of 16




       The Pico plurality stressed the “unique role of the school library” as a place where
       students could engage in voluntary inquiry. It also observed that “students must
       always remain free to inquire, to study and to evaluate, to gain new maturity and
       understanding” and that the school library served as “the principal locus of such
       freedom.”

See also id. (“Emphasizing the voluntary nature of public school library use, the plurality in Pico

observed that school officials’ decisions regarding public school library materials are properly

viewed as decisions that do not involve the school curriculum and that are therefore subject to

certain constitutional limitations.”)

       Moreover, “Sex, a great and mysterious motive force in human life, has indisputably been

a subject of absorbing interest to mankind through the ages; it is one of the vital problems of human

interest and public concern.” Roth v. U.S., 354 U.S. 476, 487 (1957). More than any other age

group, teens need books – especially books carefully selected by school librarians, rather than

inaccurate or pornographic sites on the Internet or social media – to understand sexuality.3 Further,

books on sexual violence or abuse, such as The Color Purple by Alice Walker and Speak by Laurie

Halse Anderson, can help teens grapple with violence or abuse in their lives. There is no

compelling (or even reasonable) rationale why Texas needs to restrict students from reading The

Grapes of Wrath by John Steinbeck, or Brave New World by Aldous Huxley, or The Sound and the

Fury by William Faulkner, solely because they contain some depictions of sex – books that many

generations of students before them have read.4


3
  According to one Texas study, 11% of students age 15 or below were currently sexually active,
30% of students between 16 and 17 were sexually active, and among seniors, almost 45% were
sexually active.        https://healthdata.dshs.texas.gov/dashboard/surveys-and-profiles/youth-risk-
behavior-survey (last accessed Aug. 15, 2023) (sorted by “sexual behavior, currently sexually
active, and age”).
4
  See Virginia v. Am. Booksellers Ass’n, 372 S.E.2d 618, 621-24 (Va. 1988) (holding that none of
the 16 book titles targeted, such as The Witches of Eastwick by John Updike, Forever by Judy
Blume, Ulysses by James Joyce, The Family of Woman, The New Our Bodies, Ourselves, or The
Penguin Book of Love Poetry could be deemed harmful to minors because of their serious literary,
artistic, political or scientific value for older adolescents).


                                                  5
       Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 11 of 16




       There is significant caselaw regarding the regulation of works with sexual content. It

dictates that the First Amendment interests of children, authors, and distributors are only overcome

where those statutes meet critical standards that are strikingly absent here. In several adult

obscenity cases culminating in Miller v. California, the Supreme Court made clear that sexually-

oriented content may only be regulated as obscene where:

       (a)     the average person applying contemporary community standards would find that
               the work, taken as a whole, appeals to the prurient interest...

       (b)     the work depicts or describes, in a patently offensive way, sexual conduct
               specifically defined by the applicable state law; and

       (c)     the work taken as a whole, lacks serious literary, artistic, political or scientific
               value.

Miller v. California, 413 U.S. 15, 24 (1973) (emphasis added). In Ginsberg v. New York, the

Supreme Court upheld a harmful-to-minors statute because it required that the works:

       (a)     “predominantly appeal[ed] to the prurient, shameful or morbid interest of minors”;

       (b)     were “patently offensive to prevailing standards in the adult community as a whole
               with respect to what is suitable for minors” and

       (c)     were “utterly without redeeming social importance for minors.”

390 U.S. 629, 633 (1968). Several subsequent decisions held that harmful-to-minors statutes are

only constitutional if they do not restrict books that have serious value for a legitimate minority of

older adolescents. See, e.g., Am. Booksellers Ass’n v. Virginia, 882 F.2d 125 (4th Cir. 1989);

Fayetteville Pub. Library 2023 WL 4845636, at *16.

       The Book Ban utterly fails to meet these standards.           The Book Ban burdens First

Amendment rights of publishers, booksellers and students by preventing a student from taking out

any library book containing “sexually relevant material” without parental consent.5 See proposed


5
 Parental consent statutes impair First Amendment rights, even if they are not direct bans. Brown,
564 U.S. at 805; Sund v. City of Wichita Falls, 121 F. Supp. 2d 530, 549-50 (N.D. Tex. 2000).


                                                  6
       Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 12 of 16




Tex. Educ. Code §§ 35.001(2), 35.005. Yet “sexually relevant material” is broadly defined as any

material, “including a written description, illustration, photographic image, video image or audio

file” that “describes, depicts or portrays sexual conduct” – which is in turn defined to include any

“sexual contact” or “masturbation.” Proposed Tex. Educ. Code §§ 35.001(3); 33.024(a). Nowhere

in this definition is there any requirement that the restricted works predominantly appeal to the

prurient or morbid interest in sex, that the work be patently offensive as a whole, or that the work

as a whole be utterly without redeeming social importance for minors or taken as a whole, lack

serious literary, artistic, political or scientific value for minors.6 The Book Ban further prohibits

the sale and distribution of any “sexually explicit material” to public school libraries, yet the

definition of “sexually explicit material” does not exempt works that, as a whole, have social

importance for minors or literary, artistic, political, or scientific value for minors. Proposed Tex.

Educ. Code §§ 35.001(3); 33.021(a); 35.0021.

       As such, the Book Ban is not narrowly tailored to meet a compelling government interest.7

As the Texas district court stated in Sund, 121 F. Supp. 2d at 552, with respect to a public library,

“[i]t is true . . . that states may regulate children’s access to materials not deemed obscene for

adults; however, such regulation is permissible only where the restricted materials meet the

stringent test for obscenity as to children or ‘harmful to minors.’” And as the Supreme Court

reiterated in Brown, no state may restrict access to ideas merely because it believes them to be

unsuitable for minors:




6
  The Book Ban’s provisions imposing a “patently offensive” requirement apply only to “sexually
explicit materials,” not “sexually relevant materials.” See Sec. 35.0021.
7
  See Powell’s Books, Inc. v. Kroger, 622 F.3d 1202, 1214 (9th Cir. 2010); Rushia v. Town of
Ashburnham, 582 F. Supp. 900, 904 (D. Mass. 1983); Am. Booksellers Ass’n v. McAuliffe, 533 F.
Supp. 50, 57 (N.D. Ga. 1981); see also Calderon v. City of Buffalo, 402 N.Y.S.2d 685, 689 (App.
Div. 1978).


                                                 7
       Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 13 of 16




       “[M]inors are entitled to a significant measure of First Amendment protection, and
       only in relatively narrow and well-defined circumstances may government bar
       public dissemination of protected materials to them.” Erznoznik v. Jacksonville,
       422 U.S. 205, 212–213 . . . (1975) (citation omitted). . . . “Speech that is neither
       obscene as to youths nor subject to some other legitimate proscription cannot be
       suppressed solely to protect the young from ideas or images that a legislative body
       thinks unsuitable for them.” Erznoznik, supra, at 213–214 . . . .

564 U.S. at 794-95 (emphasis added). That is exactly what has happened here.

       In Sund, a regulation provided that library card holders could vote and require that selected

children’s books be removed to the adult section in the library in order to foster parental control of

books read by their kids. The court found that the regulation was not narrowly tailored to serve a

compelling state interest, emphasizing that the regulation did not meet the demanding standards of

Ginsberg. “There is simply no interest, let alone a compelling one, in restricting access to non-

obscene, fully protected library books solely on the basis of the majority’s disagreement with their

perceived message.” 121 F. Supp. 2d at 552.

       The Book Ban is overbroad in several other ways. First, the Supreme Court’s reasoning in

Brown applies equally here:

       Not all of the children who are forbidden to purchase violent video games on their
       own have parents who care whether they purchase violent video games. While
       some of the legislation’s effect may indeed be in support of what some parents of
       the restricted children actually want, its entire effect is only in support of what the
       State thinks parents ought to want. This is not narrow . . . tailoring.

Brown, 564 U.S. at 804; see also id. at 795 n.3. Second, the Book Ban does not differentiate in

any manner by age, imposing a regime whereby library material vendors are compelled to rate

books with no regard to the age of the reader, and school libraries are required to treat

kindergarteners and 12th graders alike in terms of the books they may borrow without parental

consent. Compare Virginia v. Am. Booksellers Ass’n, 372 S.E.2d 618 (Va. 1988). This makes no

sense. In sum, the Book Ban is a content-based regulation of speech that cannot survive strict

scrutiny under the dictates of significant precedent.


                                                  8
       Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 14 of 16




II.    THE BOOK BAN UNLAWFULLY COMPELS SPEECH

       The Book Ban, with its coercive scheme to require rating of books by library materials

vendors, also compels speech in violation of the First Amendment. Ratings systems for movies

and video games in this country are wholly voluntary. The book publishing community has long

been strongly opposed to ratings for books. So, too, has the American Library Association:

       Librarians employ objective professional judgment through selection, cataloging,
       classification, and readers’ services to make available the information that library
       patrons want or need. Cataloging decisions, labels, or ratings applied in an attempt
       to restrict or discourage access to materials or to suggest moral or doctrinal
       endorsement is a violation of the First Amendment and Library Bill of Rights.

https://www.ala.org/advocacy/intfreedom/labelingratingqa. Rating systems for books are

inevitably subjective, are used for purposes of censorship, and tar the reputation of a work,

discouraging interested readers who may well find the book enlightening or enjoyable.

       In the face of this principled opposition to ratings, Texas has sought to force “library

materials vendors” to apply a rating system. Book vendors would be forced to choose from the

amorphously defined ratings of “sexually relevant material,” “sexually explicit material” or “no

rating.” “Sexually explicit material” would be prohibited completely from being sold to Texas

schools. “Sexually relevant material” could only be sold to schools and circulated to students

where their libraries require parental or guardian consent. All book vendors must submit these

ratings to the Texas Education Agency before being allowed to sell any title to schools. This

agency would be empowered to challenge any rating, including no rating. The agency could then

force the book vendor to recall a book if it took issue with the book vendor’s rating. Moreover, the

agency would maintain a public list of those book vendors who failed to comply with the agency’s

directives and prohibit those vendors from continuing to sell to Texas schools. The task of rating

all books currently available in Texas public school libraries and sold to them in the future is not

only an impossible, Sisyphean task, but blatantly unconstitutional and completely at odds with the


                                                 9
       Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 15 of 16




history of bookselling. It directly conflicts with settled constitutional jurisprudence by compelling

booksellers’ speech in at least two ways. First, the Book Ban coerces book vendors to label a book

against their principles and based on standards which are unconstitutionally vague and highly

subjective. Further, the Book Ban requires book vendors to change their own independent

determinations to conform to the State’s views by threatening significant financial injury. A more

coercive regime is hardly imaginable.

       The Texas Ban runs afoul of the prohibition against compelled speech. “[T]he government

may not compel a person to speak its own preferred messages.” 303 Creative LLC v. Elenis, 143

S. Ct. 2298, 2312 (2023). In 303 Creative, the Supreme Court treated this right as so important

that it trumped commonplace anti-discrimination laws. “[T]he right of freedom of thought

protected by the First Amendment against state action includes both the right to speak freely and

the right to refrain from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714 (1977) (citing W.

Va. Bd. of Educ. v. Barnette, 319 U.S. 624, 633-34; id., at 645 (Murphy, J., concurring). “Since all

speech inherently involves choices of what to say and what to leave unsaid, one important

manifestation of the principle of free speech is that one who chooses to speak may also decide

‘what not to say.’” Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp., 515 U.S. 557, 573 (1995).

“[T]his general rule, that the speaker has the right to tailor the speech, applies not only to

expressions of value, opinion, or endorsement, but equally to statements of fact the speaker would

rather avoid.” Id. Finally, there is no countervailing need for the State of Texas to require library

material vendors to rate books already carefully chosen by school librarians based on the books

and their reviews.

                                         CONCLUSION

       Amici respectfully request that the Defendants' motion to dismiss be denied and Plaintiffs'

motion for a preliminary injunction against the Book Ban be granted.


                                                 10
      Case 1:23-cv-00858-ADA Document 22-1 Filed 08/17/23 Page 16 of 16




Dated: August 17, 2023             Respectfully submitted,


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                                     11
